Case: 1:17-cv-03914 Document #: 23 Filed: 12/06/17 Page 1 of 2 Page|D #:87

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ME2 PRODUCTIONS, INC. )
) Case No.: l7-cv-39l4
Plaintiff,
) Judge Robert W. Gettleman
v. )
)
DoEs 1-25, )
)
Defendants. )

PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
OF ALL REMAINING DOE DEFENDANTS

 

Plaintiff, ME2 Productions, Inc., pursuant to Rule 41(a)(l) of the Federal Rules of Civil
Procedure, hereby dismisses without prejudice all causes of action in the complaint against all of the
Doe Defendants remaining in this action. Each party shall bear its own attorney’s fees and costs.

The respective Doe Defendants have not filed an answer to the complaint or a motion for

summary judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule

41(a)(l) is appropriate.
Consistent herewith, Plaintiff consents to the Court closing this case for administrative
purposes
Respectidlly submitted,
Dated: December 6, 2017 ME2 PRODUCTIONS, INC.

By: s/Michael A. Hierl
Michael A. Hierl (Bar No. 3128021)
Hughes Socol Piers Resnick & Dym, Ltd.
Three First National Plaza
70 W. Madison Street, Suite 4000
Chicago, Illinois 60602
(312) 580-0100 Telephone
(312) 580-1994 Facsimile

mhierl@hsplegal.com

Attorneys for Plaintiff
ME2 Productions, lnc.

Case: 1:17-cv-03914 Document #: 23 Filed: 12/06/17 Page 2 of 2 Page|D #:88

CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Notice of Voluntary Dismissal Without Prejudice of All Remaining Doe Defendants was filed
electronically with the Clerk of the Court and served on all counsel of record and interested
parties via the CM/ECF system on December 6, 2017.

s/Michael A. Hierl

 

